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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                            UNITED STATES OF AMERICA

DON FRANK AND ANTONIO FRANK,
INDIVIDUALLY AND AS THE REPRESENTATIVES                            DOCKET:
OF THE ESTATE OF ARMANDO FRANK

VERSUS

OFFICER KENNETH PARNELL,
THE CITY OF MARKSVILLE,
DEPUTY SPILLMAN, DEPUTY
ALEXANDER, AND DOUG
ANDERSON, THE SHERIFF OF AVOYELLES
PARISH, IN HIS OFFICIAL CAPACITY                                   JUDGE:


               COMPLAINT FOR DAMGES UNDER 42 USC 1983,
         WRONGFUL DEATH AND SURVIVAL ACTIONS UNDER STATE LAW

                                           1.
                                      INTRODUCTION

This is a civil rights lawsuit brought by the Plaintiffs Don Frank and Antonio Frank,

individually, as the surviving heirs of Armando Frank, and as representatives of Armando

Frank’s estate, for the violation of Armando’s Civil Rights, his survival action and his wrongful

death.

                                             2.
                                       JURISDICTION

This action arises under the Fourth and Fourteenth Amendments to the United States

Constitution, and under the Civil Rights Act of 1871, 42 U.S.C. sections 1983 and 1988. This

Court has jurisdiction of this cause under 28 U.S.C. sections 1331 and 1343. Venue is proper

under 28 U.S.C. section 1391 in that Defendants, on information and belief, reside and the cause

of action arises in the Parish of Avoyelles, State of Louisiana, Western District of Louisiana and

that all alleged acts occurred within the jurisdiction of the Western District of Louisiana.
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Supplemental jurisdiction attaches to the wrongful death and survival actions under 28 U.S.C.

1367.

                                                3.

Plaintiffs Don and Antonio Frank are adults residing in the State of Texas, and the rightful

representatives of their brother, Armando Frank, who died without descendants, wife, or living

parents.   Upon information and belief, Defendants are adults domiciled in the Parish of

Avoyelles, State of Louisiana, and for all times material to this complaint, were a police officers

employed by the City of Marksville, Louisiana and the deputies for the Sheriff of Avoyelles

Parish, Doug Anderson, respectively.

Made Defendants are:

DEPUTY SPILLMAN, a citizen of Louisiana and resident of Avoyelles parish, who at all times

relevant to this complaint, was a deputy for the Sheriff of Avoyelles Parish acting in the course

and scope of his employment and under color of state law.

DEPUTY ALEXANDER, a citizen of Louisiana and resident of Avoyelles parish, who at all

times relevant to this complaint, was a deputy for the Sheriff of Avoyelles Parish acting in the

course and scope of his employment and under color of state law.

SHERIFF DOUG ANDERSON, Sheriff of Avoyelles parish, in his capacity as employer of

Defendants and vicariously liable for state law delicts of SPILLMAN AND ALEXANDER

through La. CC 2320.

OFFICER KENNETH PARNELL, a citizen of Louisiana and resident of Avoyelles Parish,

who at all times relevant to this complaint was a police officer in the employ of the city of

Marksville, Louisiana.
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THE CITY OF MARKSVILLE, LOUISIANA, a political subdivision of the parish of

Avoyelles Parish, and employer of PARNELL, vicariously liable for state law delicts of

PARNELL through La. CC 2320.

                                                 4.

                                  FACTUAL ALLEGATIONS

On October 20, 2017, Armando Frank drove his tractor to the Walmart parking lot in Marksville,

Louisiana on a personal errand.

                                                 5.

As Frank was sitting on his tractor in the parking lot, he was approached by PARNELL and

SPILLMAN about an outstanding arrest warrant they had been made aware of that day by a

confidential informant. Later, Deputy ALEXANDER joined in the detention.

                                                 6.

Frank asked to see the warrant. He was told he could see it at the station.

                                                 7.

At that point, the officers ordered him to come down off the tractor and surrender to them. The

parties began a verbal argument over whether there was a warrant for his arrest.

                                                 8.

The argument between Frank and the officers escalated into one of the defendants climbing on

the tractor, placing Frank in a rear naked chokehold, and the other officers repeated tazing him

with a Taser.

                                                 9.
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After repeated choking and tazing Frank, the three officers then took Armando Frank off the

tractor and compressed his chest into what is known as positional asphyxia by pinning him

against the tractor, the ground and a police vehicle.

                                                10.

According to the autopsy, this combination of chokehold, repeated electrical shock with the

Taser, and compressing his body in such a way as to compromise his respiration, combined to

cause his death by asphyxia. The Autopsy is herein incorporated as exhibit A.

                                                11.

The manner of death was ruled a homicide by the pathologist in the autopsy.

                                                12.

There was evidence of manual strangulation in the autopsy from the improper application of a

rear naked chokehold.

                                                13.

There was also evidence of repeated electrical shocks administered by police on Frank’s body,

which contributed to his death.

                                                 14.

Despite the Plaintiff’s obvious distress, including gasping and heavy breathing, no attempts were

made by defendants to improve his airway or give him CPR until EMS arrived, long too late to

save Frank.

                                                 15.

On information and belief, timely application of CPR or opening his airway could have saved

Frank’s life. This was not attempted until Frank was already dead. On information and belief, all

three officers were trained in CPR, but none attempted to save Frank’s life.
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                                                16.

                     CIVL RIGHT VIOLATIONS: EXCESSIVE FORCE

Plaintiff incorporates all the foregoing allegations, herein.        Defendants ALEXANDER,

SPILLMAN AND PARNELL used excessive force in the seizure of Armando Frank by

maliciously killing him in violation of the Fourth and Fourteenth Amendments to the

Constitution.

                                                17.

As a result of this Civil Rights violation for the homicide of Armando Frank, Plaintiffs Don and

Antonio Frank seek damages for their loss of love, affection, support, as well as loss of

enjoyment of life.

                                                18.

                      STATE LAW VIOLATIONS AND
     VICARIOUS LIABLILITY OF THE SHERIFF OF AVOYELLES PARISH AND
                  THE CITY OF MARKSVILLE, LOUISIANA
                    FOR ACTIONS UNDER STATE LAW

Deputies SPILLMAN AND ALEXANDER were acting under color of his authority as

Avoyelles Parish Sheriff’s deputies. DOUG ANDERSON, as Sheriff, is liable for all state law

delicts and torts of his employees committed in the course and scope of their employment.

Therefore, the Sheriff is vicariously liable for the wrongful death of Armando Frank and is

indebted to Don and Antonio Frank for the death of their brother, as well as damages for the

survival action to the estate of Armando Frank, who survived for several agonizing minutes

while being murdered. Additionally, officer PARNELL, an employee of the City of Marksville,

Louisiana, is also indebted to the Franks for the wrongful death of Armando Frank, as well as

damages for the survival action to the estate of Armando Frank, who survived for several

agonizing minutes while being killed, as well as his lost chance of survival by the officers failing
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to render CPR when he was dying in their custody. The city of Marksville is vicariously liable

for Officer PARNELL’s torts while in the course and scope of his duty during this wrongful

death.

                                                 20.

Plaintiffs also pray for punitive damages and reasonable attorney’s fees against defendants for

their willful indifference of Frank’s federally protected rights.

                                                 21.

Plaintiffs pray for a trial by jury.



                                       PRAYER FOR RELIEF

Plaintiffs request that this Court assume jurisdiction over this cause, grant them compensatory

and punitive damages, costs and attorney's fees, judicial interest running from date of demand,

and award all other proper relief.




                                                /s/ JOSEPH J. LONG, ESQ
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